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                                                                        FILED
                                                                          MAR 2 9 2017
                                                                       Clerk, U S District Court
                                                                         Oistrict Of Montana
                     IN THE UNITED STATES DISTRICT COURT                       Missoula
                         FOR THE DISTRICT OF MONTANA
                              MISSOULA DIVISION

 UNITED STATES OF AMERICA,                      CR 16-29-M-DWM

                 Plaintiff,

           vs.
                                                FINAL ORDER OF FORFEITURE
 BRETT WILLIAM REUM, and
 PHILIP MICHAEL FRISCIA,

                 Defendants.



      This matter comes before the Court on the United States' Motion for Final

Order of Forfeiture. Having reviewed said motion, the Court FINDS:

      1.         The United States commenced this action pursuant to 21 U.S.C.

§ 881(a)(l 1);

      2.         A Preliminary Order of Forfeiture was entered on January 23, 2017;

      3.         All known interested parties were provided an opportunity to respond

and that publication has been effected as required by 18 U.S.C. § 982(b)(l) and 21

U.S.C. § 853(n)(l );


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      4.       There appears there is cause to issue a forfeiture order under 21

U.S.C. § 881(a)(l 1);

      It is therefore ORDERED, DECREED, AND ADJUDGED that:

      1.       The Motion for Final Order of Forfeiture (Doc. 53) is GRANTED.

      2.       Judgment of forfeiture of the following property shall enter in favor of

the United States pursuant to 21 U.S.C. § 881(a)(l 1), free from the claims of any

other party:

                  • Coast to Coast, model 267 12 gauge (pump action) shotgun
                    (Serial Number A538276);

                  • Taurus, (model unknown, 9mm Para caliber revolver (serial
                    number GX52361);

                  • Savage Arms, model 944 Series, .410 gauge (break action)
                    shotgun, (serial number P906936);

                  • Five Rounds Federal Ammunition CAL :9

      3.       The United States shall have full and legal title to the forfeited property

and may dispose of it in accordance with law.
                   r: (}.J,
     Dated this c...'.. C day ofMarch, 2017.

                                  ~;-/j)J/l             I



                                   D~oy,               District Judge
                                   United States District Court
